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 8                                    UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
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11    GOOSE POND AG, INC.,                               No. 2:19-cv-02631-KJM-AC
12                       Plaintiff,
13            v.
14    DUARTE NURSERY, INC. et al.,
15                       Defendants.
16    ___________________________________
17    UNITED STATES OF AMERICA,                          No. 2:16-cv-01498-KJM-DB
18                       Plaintiff,
19            v.                                         RELATED CASE ORDER
20    ROGER J. LaPANT, JR., et al.,
21                       Defendants.
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24                  Examination of the above-captioned actions reveals that they are related within the
25   meaning of Local Rule 123(a). Here, “both actions involve the same parties and are based on the
26   same or a similar claim,” “involve the same property,” and relation “is likely to effect a
27   substantial savings of judicial effort” and “would entail substantial duplication of labor if the
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 1   actions were heard by different Judges or Magistrate Judges.” Local Rule 123(a)(1)–(4).
 2   Accordingly, relating these matters is proper.
 3                  The parties should be aware that relating cases under Rule 123 causes the actions
 4   to be assigned to the same judge – it does not consolidate the actions. Under Rule 123, related
 5   cases are generally assigned to the judge and magistrate judge to whom the first filed action was
 6   assigned.
 7                  As a result, it is hereby ORDERED that 2:19-cv-02631-KJM-AC is reassigned
 8   from Magistrate Judge Alison Claire to Magistrate Judge Deborah Barnes. Henceforth, the
 9   caption on documents filed in the reassigned case shall be shown as: 2:19-cv-02631-KJM-DB.
10                  It is further ORDERED that the Clerk of the Court make appropriate adjustment in
11   the assignment of civil cases to compensate for this reassignment.
12                  IT IS SO ORDERED.
13   DATED: June 10, 2020.
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